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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    PEGGY SASSO, Bar #228906
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Counsel for Defendant
6    JONATHAN ANTHONY MEZA
7
                                  IN THE UNITED STATES DISTRICT COURT
8
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,                       )   NO. 1:12-cr-0233 LJO-SKO
11                                                   )
                           Plaintiff,                )   STIPULATION CONTINUING STATUS
12                                                   )   CONFERENCE; ORDER THEREON
            v.                                       )
13                                                   )   Date: September 17, 2012
     JONATHAN ANTHONY MEZA,                          )   Time: 1:00 p.m.
14   RAMON MANJARREZ DEL VAAL                        )   Judge: Hon. Sheila K. Oberto
                                                     )
15                     Defendants.                   )
     _____________________________________
16
17          IT IS HEREBY STIPULATED by and between the parties through their respective counsel,
18   Assistant United States Attorney Karen A. Escobar, Counsel for Plaintiff, Assistant Federal Defender
19   Peggy Sasso, Counsel for Defendant Jonathan Anthony Meza, and Harry M. Drandell, Counsel for
20   Defendant Ramon Manjarrez Del Vaal, that the status conference currently set for August 6, 2012, may be
21   continued to September 17, 2012 at 1:00 p.m.
22          Initial discovery has been produced by the government. The requested continuance is to allow the
23   parties time for investigation and initial plea discussions. The requested continuance will conserve time
24   and resources for both counsel and the court.
25   ///
26   ///
27   ///
28   ///
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1             The parties agree that the delay resulting from the continuance shall be excluded in the interests of
2    justice herein and for effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and
3    3161(h)(7)(B)(i) and (iv) because the ends of justice served in granting such continuance outweigh the
4    best interests of the public and the defendant in a speedy trial.
5                                                                   BENJAMIN B. WAGNER
                                                                    United States Attorney
6
7    DATED: August 2, 2012                                   By:    /s/ Karen A. Escobar
                                                                    KAREN A. ESCOBAR
8                                                                   Assistant United States Attorney
                                                                    Counsel for Plaintiff
9
10
                                                                    DANIEL J. BRODERICK
11                                                                  Federal Defender
12
     DATED: August 2, 2012                                  By:      /s/ Peggy Sasso
13                                                                  PEGGY SASSO
                                                                    Assistant Federal Defenders
14                                                                  Attorney for Defendant
                                                                    JONATHAN ANTHONY MEZA
15
16
17   DATED: August 2, 2012                                  By:     /s/ Harry M. Drandell
                                                                    HARRY M. DRANDELL
18                                                                  Attorney for Defendant
                                                                    RAMON MANJARREZ DEL VAAL
19
20
21
                                                        ORDER
22
23
24
     IT IS SO ORDERED.
25
     Dated:       August 2, 2012                         /s/ Sheila K. Oberto
26   ie14hj                                      UNITED STATES MAGISTRATE JUDGE
27
28

     MEZA: Stipulation Continuing
     Status Conference [Proposed] Order                   -2-
